           Case 3:13-cv-01465-SI Document 66 Filed 02/26/14 Page 1 of 2



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                                                                                     Illston




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      ELECTRONIC FRONTIER FOUNDATION                                          usan
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 9                                                                    D IS T IC T O
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10                                 UNITED STATES DISTRICT COURT
11                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                        SAN FRANCISCO DIVISION
13   HARMEET K. DHILLON,                            )    Case No. 13-1465 SI
                                                    )
14                           Plaintiff,             )    [PROPOSED] ORDER GRANTING
                                                    )
15                                                  )    MOTION OF THE ELECTRONIC
             vs.                                         FRONTIER FOUNDATION FOR LEAVE
                                                    )
16                                                  )    TO FILE BRIEF AMICUS CURIAE
     DOE 1, an unknown individual, and              )
17   DOES 2-10,                                     )
                                                    )
18                           Defendants.            )
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19                                                  )
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     Case No. 13-1465 SI      [PROPOSED] ORDER GRANTING MOTION FOR LEAVE TO
                                             FILE AMICUS BRIEF
           Case 3:13-cv-01465-SI Document 66 Filed 02/26/14 Page 2 of 2



 1           Before the Court is the motion to file a brief amicus curiae by Electronic Frontier

 2   Foundation in Support of Defendant’s Motion for Judgment on the Pleadings.

 3           Having considered the pleadings and good cause appearing, it is hereby ORDERED that

 4   the motion for leave to file an amicus curiae brief is GRANTED.

 5   IT IS SO ORDERED.

 6   DATED: ___________________         ______________________________________
 7                                                  Hon. Susan Ilston
                                                    United States District Judge
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     Case No. 13-1465 SI    [PROPOSED] ORDER GRANTING MOTION FOR LEAVE TO
                                           FILE AMICUS BRIEF
